Case 1:10-cv-00769-JCC-JFA Document 55 Filed 06/23/15 Page 1 of 1 PageID# 401




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA, ex rej.
 DANE SMITH,

                        Plaintiffs,

        v.                                                  Civil Action No.    1; 10cv769
                                                            FILED UNDER SEAL
 VMWARE, INC., and CARAHSOFT                                Pursuant to 31 U.S.C. Section
 TECHNOLOGY CORP.,                                          3730(b)(2)and (b)(3)

                                                            JCC/JFA


                        Defendants.




                                                     ORDER


        Upon consideration of the United States' Notice of Intervention for Purposes of

 Settlement, it is hereby:

        ORDERED that the Relator's Complaint,the Relator's Amended Complaints, the United

 States' Notice of Intervention for Purposes of Settlement, and this Order be unsealed; and

         ORDERED that all filings after this Order be unsealed; and

         ORDERED that all other filings in this matter remain under seal and not be made public.

 IT IS SO ORDERED.                                            /g/
                                              James C. Cacheris
                                              United States District Judge

                                              United States District Judge


 Date
